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                                 UNITED STATES BANKRUPTCY COURT
01/2012
                                  NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

  IN RE: FELIPE 1. CARABALLO, JR.                      ) Chapter 13
                                                       ) Bankruptcy Case No.      \1J   ~   \ l.p \ L\ ~
                                                       )
                                                       )
          Debtor(s)                                    )

                         DECLARATION REGARDING ELECTRONIC FILING
                          PETITION AND ACCOMPANYING DOCUMENTS

                                     DECLARA TION OF PETITIONER(S)

     A.        [To be completed in all cases]

              I (We), FELIPE 1. CARABALLO. and                                          undersigned
     debtor(s), corporate officer, partner, or member hereby declare under penalty of perjury that
     (1) the information I(we) have given my (our) attorney is true and correct; (2) I(we) have
     reviewed the petition, statements, schedules, and other documents being filed with the petition;
     and (3) the document s are true and correct.

     B.       [To be checked and applicable only if the petition is for a corporation or other limited
              liability entity.]



          o   I,                             , the undersigned, further declare under penalty of
              perjury that I have been authorized to tile this petition on behalf of the debtor.



 FELIPE 1. CARABALLO, JR.
 Printed or Typed Name of Debtor or Representative                Printed or Typed Name of Joint Debtor




                                                                  Signature of Joint Debtor




 Date                                                             Date
